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   ELECTRIC COMPANY
14
                              UNITED STATES DISTRICT COURT
15
             NORTHERN DISTRICT OF CALIFORNIA, SAN FRANCISCO DIVISION
16

17
     UNITED STATES OF AMERICA,                    Case No. 14-CR-00175-WHA
18
                  Plaintiff,                      RESPONSE TO FURTHER ORDER
19                                                REQUESTING RESPONSE AND RE
           vs.                                    UPCOMING HEARING DATED AUGUST
20                                                19, 2021
   PACIFIC GAS AND ELECTRIC
21 COMPANY,
                                                  Judge: Hon. William Alsup
22                Defendant.

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                 RESPONSE TO AUGUST 19, 2021 FURTHER ORDER RE DIXIE AND FLY FIRES
                                     Case No. 14-CR-00175-WHA
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 1           Defendant Pacific Gas and Electric Company (“PG&E”) respectfully submits this response

 2 to the Court’s August 19, 2021 Order. (Dkt. 1419.)

 3           PG&E shall please advise the Court in writing by AUGUST 24 AT NOON whether
             it will produce the troubleman voluntarily, in person, at the hearing on September
 4           13, 2021, at 2:00 p.m., without the necessity of a subpoena. Failing this, the Court
             will issue a subpoena on its own and have it served by the U.S. Marshals Service.
 5
             PG&E shall by AUGUST 24 AT NOON also produce to the Court the home
 6           address of the troubleman who reported the Dixie Fire. (This may be done under
             seal.)
 7
             PG&E shall today serve a copy of this order, and the orders at Dkt. Nos. 1417 and
 8           1418, on counsel for the troubleman.

 9           PG&E served a copy of the Court’s August 19 Order (Dkt. 1419) on the troubleman’s
10 counsel on August 19, 2021. PG&E thereafter contacted the troubleman’s counsel, who informed

11 PG&E that the troubleman will appear voluntarily without the necessity of a subpoena.

12           By AUGUST 24 AT NOON, PG&E shall also produce under seal the name and address
             where a subpoena may be served for the PG&E employee(s) who summarized to the
13           monitor the information about another employee who spotted a drone in a
             contractor’s car on July 14.
14

15           The names and addresses for service of process of the employees who summarized to the

16 monitor on July 22, 2021 information known to PG&E at the time about the drone issue are
                         1
17 provided in Exhibit Q. The two employees will likewise appear voluntarily without the necessity

18 of a subpoena, should the Court request their appearance.
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    Four people from PG&E were present on that call but only two summarized or discussed the
28 drone.
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                  RESPONSE TO AUGUST 19, 2021 FURTHER ORDER RE DIXIE AND FLY FIRES
                                      Case No. 14-CR-00175-WHA
     Case 3:14-cr-00175-WHA Document 1421 Filed 08/24/21 Page 3 of 3




 1 Dated: August 24, 2021                          Respectfully submitted,

 2                                                 JENNER & BLOCK LLP

 3                                                 By:    /s/ Reid J. Schar
                                                          Reid J. Schar (pro hac vice)
 4
                                                   CRAVATH, SWAINE & MOORE LLP
 5
                                                   By:    /s/ Kevin J. Orsini
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 8                                                 By:    /s/ Kate Dyer
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10                                                 Attorneys for Defendant PACIFIC GAS AND
                                                   ELECTRIC COMPANY
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               RESPONSE TO AUGUST 19, 2021 FURTHER ORDER RE DIXIE AND FLY FIRES
                                   Case No. 14-CR-00175-WHA
